
In re Slack, James D.; Disciplinary Counsel; — Plaintiff(s); Applying for Joint Petition to Transfer to Disability Inactive Status Pursuant to Rule XIX § 22(D).
ORDER
Considering the Joint Petition for Transfer to Disability Inactive Status,
IT IS ORDERED that James D. Slack, Louisiana Bar Roll number 12124, be and he hereby is transferred to disability inactive status. All disciplinary proceedings against respondent shall be deferred until such time as he resumes active status.
Pursuant to Supreme Court Rule XIX, § 26(E), this order shall be effective immediately.
/s/ John L. Weimer Justice, Supreme Court of Louisiana
